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                                         January 19, 2024

VIA ECF
The Honorable Victoria Reznik, U.S.M.J.
U.S. District Court for the Southern District of New York
300 Quarropas Street, Courtroom: 420
White Plains, NY 10601-4062

       Re:     Rand v. The Travelers Indemnity Company, Case No. 7:21-cv-10744-VB-VR

Dear Judge Reznik:

        We represent Plaintiff in the above-referenced matter. As we discussed with the Clerk’s
Office, we understand that Docket No. 112 has been marked temporarily sealed. Defendant has
requested that Dkt. No. 112 be sealed as containing non-discoverable information protected from
disclosure at this time by a protective order issued in this case, found at Dkt. No. 50. We write as
instructed by the Clerk’s Office to request that Dkt. No. 112 remain sealed while the discovery
dispute, which it concerns, is adjudicated by this Court.

       Thank you.

       Respectfully submitted,

 /s/ Christian Levis                               /s/ Thomas J. McKenna
 Christian Levis                                   Thomas J. McKenna

cc:   All Counsel of Record (via ECF)
The parties' request is GRANTED. ECF No. 112 shall
remain temporarily under seal. The parties are to
submit a joint letter by 1/26/24 regarding their positions
on sealing ECF No. 112.

Dated: 1/22/24
